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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.


                  NOTICE OF WITHDRAWAL OF APPEARANCE
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         PLEASE TAKE NOTICE that Joshua Matz of Kaplan Hecker & Fink LLP, having

  appeared in this case on behalf of Plaintiffs, gives notice of the withdrawal of his appearance as

  counsel of record.

         Plaintiffs shall continue to be represented by remaining counsel of record from Kaplan

  Hecker & Fink LLP, Boies Schiller Flexner LLP, Cooley LLP, and Woods Rogers PLC.



         Dated: October 15, 2019                      Respectfully submitted,

                                                      /s/ Joshua Matz
                                                      Joshua Matz (pro hac vice)
                                                      KAPLAN HECKER & FINK LLP
                                                      350 Fifth Avenue, Suite 7110
                                                      New York, NY 10118
                                                      Telephone: (212) 763-0883
                                                      jmatz@kaplanhecker.com
